             Case 2:11-cr-00210-DAD-DB Document 74 Filed 08/03/11 Page 1 of 6




 1

 2

 3

 4

 5

 6

 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11 UNITED STATES,

12                 Plaintiff,                      No. CR-S-11-0210 JAM (GGH)

13                 vs.

14
     VERA KUZMENKO,
15
               Defendant.
16 ___________________________________/

17 Introduction and Summary

18                 The United States (government) has brought this action against defendant Vera

19 Kuzmenko (Kuzmenko), and others, on account of a massive real estate fraud assertedly

20 orchestrated by Kuzmenko. The government opposes pre-trial release of Kuzmenko because of

21 its belief that large amounts of money, generated by the fraud, are outstanding and available

22 making her a flight risk. The government additionally believes that persons willing to assist

23 Kuzmenko in posting security for bond are tainted themselves with the fraud, although the

24 properties finally proffered appear not to be directly tied to any allegations.

25                 For the reasons that follow, the undersigned will order release conditioned upon

26 the posting of secured bond in the amount of $500,000, electronic monitoring, and the remainder

                                                      1
            Case 2:11-cr-00210-DAD-DB Document 74 Filed 08/03/11 Page 2 of 6




 1 of conditions set forth in the Supplemental Pretrial Services Report of July 28, 2011. One-half of

 2 the security to be posted shall be in the form of liquid assets, a corporate surety bond, or both.

 3 Background

 4                 The indictment, filed May 12, 2011, alleged that Kuzmenko has committed wire

 5 fraud, mail fraud, money laundering and witness tampering. In simple terms, the scheme involved

 6 the “usual allegations” – a defendant obtaining real estate commissions by submitting grossly

 7 fraudulent loan applications to those entities funding the real estate loan – with a substantial,

 8 added twist. The twist involved Kuzmenko targeting distressed (upside down) properties with

 9 straw purchasers, in which the seller agreed that upon sale only the mortgage would be paid off.1

10 However, the actual sale price submitted to the loan companies (and hence the loan amounts

11 approved by the lending institutions) was inflated by several mechanisms. For example,

12 Kuzmenko is alleged to have manufactured “gain” by submitting to the loan company false

13 invoices for purported work that the seller had performed on the property prior to close of escrow,

14 and which were to be paid to shell companies from any proceeds received on the sale. Ostensibly,

15 the value of the house for appraisal purposes was artificially enhanced by the work performed. In

16 reality, no pre-sale work was ever performed, and the entities listed on the invoices were shell

17 companies run by persons who would profit together with Kuzmenko for the non-existent work.2

18 Fraudulent documentation of many types was submitted to the lending institutions to convince the

19 lenders that the straw purchasers met the requirements for loans on the sale price. Ultimately, of

20 course, the lenders were forced to foreclose on the property at great loss to the lender. The

21 government alleges the lending institutions’ loss at over $9,000,000.

22 \\\\

23
            1
24            A distressed seller might well find that appealing in that the seller could walk away from
     a distressed property with no bad mark on his or her credit and be able to make a fresh start.
25
            2
             It may also be the case that the government is alleging that the appraisals supplied to the
26   lending institutions were also inflated per se regardless of any work purportedly performed.

                                                      2
            Case 2:11-cr-00210-DAD-DB Document 74 Filed 08/03/11 Page 3 of 6




 1 Detention Proceedings

 2                 Kuzmenko was arrested on a complaint and made her first appearance on May 3,

 3 2011. Detention proceedings were continued several times with the first detention hearing being

 4 held on May 12, 2011. Kuzmenko was ordered detained by the undersigned based on then

 5 unanswered questions about an international flight she had been scheduled to take a day after her

 6 arrest, unaccountable, significant sums of money, and inadequate proffered security. She had her

 7 first bail review before the Honorable Dale Drozd which was unsuccessful because of inadequate

 8 proffered security and lingering questions about unaccounted for monies, including an alleged

 9 million or so dollars in a Swiss bank account.

10                 On July 29, 2011, Kuzmenko appeared once more before the undersigned for a

11 second bail review, proffering security for a $300,000 plus bail package, but persistent questions

12 about the Swiss bank account, as well as the nature of the security for the proffered bond,

13 necessitated an evidentiary hearing held on August 1, 2011. The undersigned took the matter

14 under submission at that hearing.

15 Discussion

16                 Flight risk is the only issue in this detention proceeding.3 The law regarding the

17 government’s burden of proof in establishing flight risk is well established. The government

18 bears the burden by a preponderance of the evidence showing that no conditions or combination

19 of conditions will reasonably assure the appearance of defendant. United States v. Gebro, 948

20 F.2d 1118, 1121 (9th Cir. 1991). The undersigned is mindful that it should ensure that defendants

21 are not unnecessarily detained, and that incarceration should be reserved, if possible,

22 post-conviction. Bona fide doubts about the propriety of release should be resolved in favor of the

23 defendant. Id. Thus, the undersigned turns to the facts.

24 \\\\

25
            3
             The underlying charged offenses do not trigger a danger to the community analysis. See
26   United States v. Gill, 2008 WL 2120069 *3 (E.D. Cal. 2008).

                                                     3
            Case 2:11-cr-00210-DAD-DB Document 74 Filed 08/03/11 Page 4 of 6




 1                 First, the undersigned cannot specifically credit the existence of a Swiss bank

 2 account with the approximate sum of $1,000,000. According to the agent, this “fact” was

 3 transmitted to the government by informants, one of whom overheard Kuzmenko tell of this bank

 4 account. The other informant was much more general about a bank account with monies in it.

 5 However, the government chose not to reveal the informants’ identities, and therefore, the

 6 undersigned cannot credit the hearsay. While hearsay can be utilized in a detention proceeding,

 7 United States v. Winsor, 785 F.2d 755, 756 (9th Cir. 1986), the hearsay must be reliable. In order

 8 to assess reliability, a defendant has the right to at least know who the declarant may be in order to

 9 mount any attack on the declarant’s credibility or foundation.

10                 However, the larger issue of unaccounted for monies which could be used to fund

11 flight remains. The government has produced persuasive evidence that the fraud alleged in the

12 indictment, for which the grand jury has found probable cause, produced large amounts of ill

13 gotten monies, most of which appear to be outstanding. While it is not clear who may hold the

14 majority of such funds, or where there may be precisely located, these facts do not detract from

15 the fact that funds for flight wherever held may exist for this defendant. First, Kuzmenko was the

16 indicted ringleader of this fraud; it stands to reason that she would have maintained the bulk of

17 monies obtained as a result of the schemes described above. Secondly, the undersigned notes that

18 the description of the fraudulent scheme reveals participants, both indicted and unindicted, in an

19 ethnically close knit group, some might say financially incestuous, who have such loyalty to each

20 other that holding of another’s assets may well be performed on a matter of trust. This fact

21 increases the difficulty of ascertaining the precise whereabouts of liquid assets, but lends some

22 credence to the possibility of their remaining existence.

23                 While at first very problematic, Kuzmenko’s on-the-eve-of-arrest aborted

24 international trip to the Ukraine for an alleged medical procedure has been largely explained by

25 the defense. Evidently, this scheduled round trip to the Ukraine and back was halted on account

26 of Kuzmenko not being able to obtain a visa. The defense has produced credible information that

                                                     4
             Case 2:11-cr-00210-DAD-DB Document 74 Filed 08/03/11 Page 5 of 6




 1 the trip was cancelled by Kuzmenko, just prior to her arrest. Although the Ukraine is proximate

 2 to Estonia, there are no facts suggesting that the purpose of the Ukraine trip was simply a ruse to

 3 ultimately go back to the country in which she grew up, or a nearby country.4

 4                 The above fact of unaccounted for monies significantly supports the government’s

 5 request for detention. However, there are facts which weigh in favor of fashioning release

 6 conditions. As pointed out by defense counsel, Kuzmenko is a citizen of no country, having given

 7 up her USSR citizenship in 1988.5 She is a permanent legal resident in the United States, and has

 8 a seven year old daughter residing with her in this country. Allegedly, she has no immediate

 9 family in foreign countries.

10                 Kuzmenko has much support within her community, perhaps a bit too much as

11 alluded to above. Nevertheless, associates of Kuzmenko have stepped forward pledging security

12 for bond which itself does not appear to be tainted with fraud, although it is not clear the extent to

13 which some of the persons proffering security were unindicted participants in the scheme alleged

14 in the indictment. The amount of security pledged is in excess of $300,000. Normally, this

15 amount would be quite sufficient to deter flight, although the government references again the

16 unaccounted for monies and the possibility that such monies could repay anyone who lost security

17 because of defendant’s flight.

18                 Kuzmenko has one prior conviction in 1994 for felony insurance fraud for which

19 she received a short amount of jail time. Her proclivity to misrepresent does not assist her in this

20 detention matter, i.e, it becomes more difficult to accept her promises to appear or abide by

21
            4
22           Defense counsel argued that Kuzmenko would not flee to a country within which she
     could not speak the language. The Ukraine and Estonia were former states within the USSR
23   where Russian is a well understood language. Because Kuzmenko lived in Estonia and because
     she was a school aide assisting Russian students, one can infer that she speaks fluent Russian.
24
             5
             Kuzmenko was born in Uzbekistan when it was a province/republic within the USSR.
25   She early on moved to Estonia, and finally came to the United States in 1988. According to
     Kuzmenko, she has no close family in either Estonia or Uzbekistan, family members having
26   emigrated to the United States.

                                                      5
            Case 2:11-cr-00210-DAD-DB Document 74 Filed 08/03/11 Page 6 of 6




 1 conditions of release. Neither does the nature of the witness tampering charge weigh in her favor.

 2                 Although weight of the evidence is the least important factor, Winsor, 785 F.2d at

 3 757, common sense requires the conclusion that the greater the realistic penalty, the more likely it

 4 is that one would have incentive to flee if the evidence weighs against her. The specificity of the

 5 indictment, and the probable lack of legitimate explanation for the multiple actions described

 6 therein, as well as the evidence heard by the undersigned at evidentiary hearing, bespeak that the

 7 government has much weighty evidence in this case. And a very rough Guidelines computation,

 8 utilizing § 2B1.1, would indicate a realistic penalty in the neighborhood of ten years actual

 9 incarceration. If witness tampering were proved, this might result in an additional consecutive

10 penalty. This factor weighs against Kuzmenko.

11                 Especially given the real possibility of funds unaccounted for, the undersigned does

12 not find that the present security proffered is adequate in amount to deter flight. However, the

13 undersigned ultimately concludes weighing all the circumstances that a bond in the amount of

14 $500,000 sufficiently addresses the risk of flight. The security posted shall be comprised of at

15 least one-half in liquid assets, a corporate security bond, or both. The remainder may consist of

16 liens on real property having equity or other valuable property. All of the remaining conditions

17 set forth in the July 28, 2011 Supplemental Pretrial Services Report, including electronic

18 monitoring, shall be imposed as well.

19 Conclusion

20                 Defendant Vera Kuzmenko will be ordered released on the conditions as set forth

21 above. No release order will be signed until all bonds are filed and security posted. Defendant

22 must read and execute the Notice to Defendant Upon Being Released. Pretrial Services shall

23 endeavor to have electronic monitoring up and running at the time security is posted.

24 DATED: August 3, 2011

25                                                  /s/ Gregory G. Hollows
                                           UNITED STATES MAGISTRATE JUDGE
26

                                                     6
